Case 2:05-cr-20lO4-.]PI\/| Document 29 Filed 07/22/05 Page 1 of 2 Page|D 24

 

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FOR THE WESTERN DlsTRlcT oF TENNEssEE
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P|aintiff

VS.
CR. NO. 05-20104-D

AMBROZE ODUNZE

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 21, 2005. At that timel counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
re ort date of Thursda Se tember 22 2005 at 9:00 a.m., in Coun_@m 3. 9th Floor

 

of the Federa| Building, Memphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

IT ls so oRDERED this ¢=25 day ofJuly, 2005.

§L@z;: £~@

RNlCE B.’DONALD
UN|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet lr': c 923%/ ‘

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COURT-\NESTE§N

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This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20104 Was distributed by faX, mail, or direct printing on
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i»anSSEE

 

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

